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 3
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 4   Fax:           (209)544-1860
 5   Attorney for Defendant
     MIGUEL S. FELIX
 6

 7

 8                     IN THE UNITED STATES DISTRICT COURT
 9                 FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,           )   No. 1:09-CR-00317-AWI
                                         )
12
          Plaintiff,                     )
                                         )   STIPULATION AND ORDER RE:
13                                       )   CONDITIONS OF RELEASE AND ORDER
     v.                                  )   PERMITTING TRAVEL
14                                       )
     MIGUEL S. FELIX,                    )
15                                       )
                                         )
16        Defendants.                    )
                                         )
17                                       )
                                         )
18                                       )
19

20        Defendant, MIGUEL S. FELIX, through his attorney ROBERT L.
21
     FORKNER, together with the United States of America through its
22
     undersigned counsel, KATHLEEN A. SERVATIUS, Assistant United
23
     States Attorney, hereby stipulate and request the following:
24
          1. That the defendant Miguel S. Felix shall be permitted to
25
     travel for medical and health purposes, and for his mother’s
26
     surgery, from March 19th 2012 to April 2, 2012.
27
          2. It is understood that said travel is outside the Eastern
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                                ORDER & STIPULATION - 1
                            Case 1:09-cr-00317-LJO Document 154 Filed 03/12/12 Page 2 of 2



 1   District of California, and outside of the United States.                               A
 2   copy of the travel itinerary has been provided to pretrial
 3   services.
 4
                           3. Defendant shall be permitted to use his passport for
 5
     purposes of travel.                     All parties agree that the defendant’s
 6
     passport shall be returned to him so that he may travel outside
 7
     the United States.
 8
                           4. Pre-trial services Officer Lydia Serrano has been advised
 9
     and has no objections.                     All other conditions of release shall
10
     remain in full force and effect.                        The Defendant shall report to
11
     pretrial services within 24 hours of his return to the Eastern
12
     District of California.
13
     IT IS SO STIPULATED.
14
     Dated:                   March 8, 2012                     /s/ Robert L. Forkner
15
                                                                ROBERT L. FORKNER
16                                                              Attorney for Defendant
                                                                MIGUEL S. FELIX
17

18
     Dated: March 8, 2012                                       BENJAMIN B. WAGNER
19                                                              United States Attorney
20                                                              by: /s/ Kathleen A. Servatius
21
                                                                KATHLEEN A. SERVATIUS
                                                                Assistant U.S. Attorney
22
                                                        ORDER
23

24
     IT IS SO ORDERED.
25
     Dated: March 9, 2012
26                                                CHIEF UNITED STATES DISTRICT JUDGE
     DEAC_Signature-END:




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     0m8i788
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                                                 ORDER & STIPULATION - 2
